         Case
       Case    3:23-cv-00782-YY Document
            2:16-md-02740-JTM-MBN        6-469110
                                   Document    FiledFiled
                                                     05/22/23    Page
                                                          01/23/20    1 of18of 8
                                                                   Page



                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Cynthia Thibodeaux, No. 16-15859                    )


                                 ORDER AND REASONS

         Before the Court is a Motion for Summary Judgment (Doc. 8779). The
Court held oral argument on January 9, 2020. For the following reasons, the
Motion is GRANTED.


                                      BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial was held in
September 2019. The second is set for March 23, 2020, and Cynthia
Thibodeaux was selected as the plaintiff for this trial.
         Plaintiff Cynthia Thibodeaux filed her lawsuit in October 2016, more
than six years after she completed chemotherapy treatment and lost her hair.
An attorney advertisement describing the alleged link between Taxotere and


1   Docetaxel is the generic version of Taxotere.
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-469110
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       01/23/20    2 of28of 8
                                                                Page



permanent hair loss prompted her to file suit. In the instant Motion,
Defendants argue that Thibodeaux’s claims are prescribed.


                                LEGAL STANDARD

       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 2 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 3 When
considering a summary judgment motion, the Court must view the entire
record in the light most favorable to the non-moving party and indulge all
reasonable inferences in that party’s favor. 4


                                LAW AND ANALYSIS
       Defendants argue that summary judgment is warranted for two reasons:
(1) the untimeliness of this case is apparent from the pleadings; and (2) the
evidence shows that contra non valentem does not apply. Defendants argue
that Plaintiff was aware of her alleged injury six months after she completed
chemotherapy and that this is when prescription began to run. Defendants
point to the Master Complaint in the MDL, defining permanent chemotherapy-
induced alopecia (“PCIA”) as “an absence of or incomplete hair regrowth six
months beyond the completion of chemotherapy.” 5 Highlighting the fact that
in her Short Form Complaint, Thibodeaux incorporated the Master Complaint
by reference, Defendants aver that the prescriptive period began to run six
months after Thibodeaux completed chemotherapy. Because she completed her

2 FED. R. CIV. P. 56.
3 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
4 Crawford v. Formosa Plastics Corp., 234 F.3d 899, 902 (5th Cir. 2000).
5 Doc. 8879-2 (citing Doc. 4407).



                                             2
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-469110
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       01/23/20    3 of38of 8
                                                                Page



treatment in June 2009, Defendants aver that the one-year prescription period
began to run in January 2010. According to Defendants, when Thibodeaux filed
her complaint in October 2016, her case had prescribed. Defendants further
argue that contra non valentem does not apply because Plaintiff had reason to
investigate her claim but did not. They note that she purchased a new wig
every three months but never asked her physicians about her hair loss.
       In response, Plaintiff argues that Defendants misread the Master
Complaint and erroneously apply a de facto six-month trigger date for purposes
of prescription. Disregarding the allegations in the Master Complaint, Plaintiff
notes that the Plaintiffs’ Steering Committee has repeatedly stated that there
is no definitive definition for permanent alopecia. Plaintiff avers, however, that
even if her injury is defined using the definition of PCIA in the Master
Complaint, there is an issue of fact on whether contra non valentem applies.
Plaintiff avers that she reasonably believed her hair would grow back until she
saw the attorney advertisement in 2016.
       Under Louisiana Civil Code article 3492, the prescriptive period for
products liability claims is one year. 6 Generally, the period begins to run from
the day the injury or damage is sustained. 7 “If the face of the petition shows
that the prescriptive period has already elapsed, the plaintiff has the burden
of establishing that suspension, interruption or renunciation of prescription
has occurred.” 8
       The doctrine of contra non valentem “provides some grace for those
plaintiffs who are unaware that their injury was caused by a tort.” 9 The

6 LA. CIV. CODE art. 3492. See also In re: Xarelto (Rivaroxaban) Prods. Liab. Litig., 2017 WL
4517287, *2 (E.D. La. Oct. 10, 2017).
7 Carter v. Matrixx Initiatives, Inc., 391 Fed. App’x 343, 344 (5th Cir. 2010).
8 Hoerner v. Wesley-Jensen, 684 So. 2d 508 (La. App. 4 Cir 1996).
9 Xarelto, 2017 WL 4517287 at *2.




                                             3
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-469110
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        01/23/20    4 of48of 8
                                                                 Page



doctrine states that prescription begins to run when a plaintiff has “actual or
constructive knowledge of facts indicating to a reasonable person that he or
she is the victim of a tort.” 10 This occurs “when the plaintiff has actual or
constructive knowledge of a causal relationship between the object or product
and the injury.” 11 “There is no requirement that a patient be informed by an
attorney or physician of a possible [claim] before prescription begins to run.” 12
Rather, prescription begins to run “when there is enough notice to call for an
inquiry about a claim, not when an inquiry reveals the facts or evidence that
specifically outline the claim.” 13 Accordingly, to toll prescription, a plaintiff
who suspects that something is wrong must act reasonably to discover the
cause of the problem; otherwise, contra non valentem will not apply. 14 “The
ultimate issue is the reasonableness of the [plaintiff’s] action or inaction, in
light of his education, intelligence, the severity of the symptoms, and the
nature of the defendant’s conduct.” 15
       This Court agrees with Defendants that Plaintiff’s case is prescribed on
the face of the pleadings. Plaintiff identifies her injury as permanent
chemotherapy-induced alopecia (“PCIA”). In her Short Form Complaint, she
incorporates the Master Complaint, which defines PCIA as “an absence of or
incomplete     hair   regrowth     six   months      beyond     the   completion     of
chemotherapy.” 16 Thibodeaux completed her chemotherapy treatment in June




10 Id. (quoting Bailey, 891 So. 2d at 1276) (internal quotations omitted).
11 Id.
12 Id. (quoting Breaux v. Danek Med., No. 95-1730, 1999 WL 64929, at *6 (E.D. La. 1999))

(internal quotations omitted).
13 Luckett v. Delta Airlines, Inc., 171 F.3d 295, 300 (5th Cir. 1999).
14 See Chevron USA, Inc. v. Aker Maritime, Inc., 604 F. 3d 888, 894 (5th Cir. 2010).
15 Campo v. Correa, 828 So. 2d 502, 511 (La. 2002).
16 Doc. 4407.




                                           4
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-469110
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        01/23/20    5 of58of 8
                                                                 Page



2009, 17 which means that the one-year prescriptive period began in January
2010 and ended in January 2011. On the face of the pleadings, when
Thibodeaux filed her complaint in October 2016, her case had prescribed. 18
       The Court further finds that contra non valentem is inapplicable.
Thibodeaux had actual or constructive knowledge of a causal relationship
between her injury and Taxotere, yet she did nothing to investigate.
Thibodeaux testified that she attributed her hair loss to her chemotherapy
treatment, 19 and she knew her hair loss had persisted beyond what she had
expected—she expected it to regrow months after chemotherapy but instead
found herself buying a new wig every three months for several years. 20 She had
enough notice to excite her attention, but she did not act to discover the cause
of the problem. She never inquired with her doctors even though, according to
testimony from her dermatologist, she saw her dermatologist three times about
unrelated matters. 21
       Thibodeaux testified that she assumed her health care providers knew
that her hair had not returned because they saw her wearing wigs. 22 She

17 Plaintiff’s last Taxotere infusion was April 16, 2008, but Thibodeaux completed her overall
chemotherapy treatment in June 2009. To be more generous to Thibodeaux, Defendants rely
on the June 2009 date. The Court does the same.
18 Even if the Court disregards the clear definition of PCIA provided in the pleadings as urged

by Thibodeaux, the evidence shows that six months after treatment, Thibodeaux knew or
should have known that her hair was not growing back and that it was because of her
chemotherapy. She testified unequivocally that she “thought chemotherapy caused it to come
out.” Doc. 8976-2 at 216–17. She testified that she thought her hair “was going to come back
after chemo, once chemo’s completed, maybe a few months later.” Doc. 8976-1 at 278–79. She
testified that while she initially had some hair regrowth, her hair has been in the same state
since “maybe [2010].” Id. at 276. During chemotherapy, Thibodeaux had taken a multi-
vitamin in an effort to help her hair regrow, but by 2009 or 2010, she stopped taking it. She
testified that she “was hoping that it would help my hair grow back, but it didn’t.” Doc. 8779-
4 (p. 63). Considering the evidence, the Court finds that, Thibodeaux had sufficient
knowledge of her injury and its causal connection to her chemotherapy regimen in early 2010.
19 Doc. 8779-4 (p. 280–81).
20 Doc. 9779-4 (p. 59).
21 Doc. 8779-11.
22 Doc. 8976-2 at 209–10.




                                              5
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-469110
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        01/23/20    6 of68of 8
                                                                 Page



further testified that she “didn’t think to ask” her providers whether there was
a way to treat her hair to make it regrow. 23 In her briefing, Thibodeaux points
to testimony from her oncologist, who says she observed that Thibodeaux
routinely wore a wig after chemotherapy. 24 This evidence carries no weight in
the contra non valentem analysis. Thibodeaux cannot invoke contra non
valentem simply because others observed her injury and could have offered
unsolicited advice to help her but did not. This falls short of “act[ing]
reasonably to discover the cause of the problem” as the law requires. 25
       Thibodeaux also asserts in her briefing that her mother and husband
assured her that her hair would return, and because of this, she maintained a
positive outlook and kept hoping her hair would regrow. The Court was unable
to locate testimony of this nature in Thibodeaux’s deposition, but even
assuming its veracity, this is not the same as inquiring with a physician and,
for example, reasonably relying on his or her medical opinion that hair
regrowth may take some time.
       Plaintiff notes that she signed an informed consent before treatment,
and the form identified hair loss as a side effect. She vaguely states that “[a]
patient’s reliance upon the written warning information received from her
medical provides is not unreasonable.” 26 Thibodeaux seems to suggest that she
kept believing her hair loss was temporary because the form had said it would
be. She fails, however, to point to any testimony saying as much. Even if she
did continue relying on the form as she waited for her hair to return, this
reliance was unreasonable. If she remembered what the form said, this should
have excited her attention and prompted an investigation.


23 Doc. 8976-2 at 210.
24 Doc. 8976-5 at 122.
25 See Chevron, 604 F. 3d at 894.
26 Doc. 8976 at 7.



                                        6
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-469110
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        01/23/20    7 of78of 8
                                                                 Page



       Plaintiff argues that any investigation into her injury would have been
futile. At oral argument, Plaintiff averred that because the company did not
warn of permanent alopecia in its label, this knowledge was not available to
Plaintiff or her doctor. The Court rejects this circular argument. Prescription
cannot be tolled because the manufacturer did not issue an adequate
warning. 27 If the manufacturer had issued an adequate warning about
permanent hair loss, Plaintiff Thibodeaux would not have a failure to warn
claim. Further, when a plaintiff demonstrates a lack of diligence as Thibodeaux
has, claiming futility cannot relieve her of her duty to investigate. 28
       Similarly, Plaintiff avers that while she had been warned of the
possibility of temporary hair loss, she was never warned of the possibility of
permanent hair loss. She claims that when she saw the attorney advertisement
in 2016, this was the first indication she had that her hair loss might be
permanent. Plaintiff suggests that prescription could not run because she was
not told her hair loss was permanent. Even if the Court disregards the
definition of PCIA as manifesting six months after treatment, Plaintiff
Thibodeaux at some point must have grown skeptical of the initial warning she
had been given. When her hair did not grow back as she expected, she was on
notice that something was amiss. Yet for several years she never raised this
with her doctors.
       Ultimately, Plaintiff has failed to point the Court to reasonable action
that would toll the prescriptive period for her case. At some point, Plaintiff


27 See Smith v. Regional Transit Authority, 827 F.3d 412, 422 n.8 (5th Cir. 2016) (finding
contra non valentem inapplicable “where the only contention is that the Defendants failed to
inform the Plaintiffs that a condition was permanent”).
28 Bartucci v. Jackson, 246 Fed. App’x 254, 258 (5th Cir. 2007) (“We do not know if Bartucci

could have uncovered his memories had he attempted to do so in 1984; however, his failure
to even try to discover what happened to him demonstrates a lack of diligence which
precludes him from establishing an exception to prescription.”).

                                             7
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-JTM-MBN        6-469110
                               Document    FiledFiled
                                                 05/22/23    Page
                                                      01/23/20    8 of88of 8
                                                               Page



should have investigated why her hair was not growing back. Her inaction is
not the kind of conduct that warrants the application of contra non valentem.
This Court refuses to find that Thibodeaux’s prescriptive period was tolled
until she learned through an attorney advertisement that she may have a
claim for her permanent hair loss. Accordingly, her case is prescribed.



                               CONCLUSION

      Accordingly, for the foregoing reasons, Defendants’ Motion for Summary
Judgment (Doc. 8779) is GRANTED. Her case is DISMISSED WITH
PREJUDICE.
      New Orleans, Louisiana this 22nd day of January, 2020.




                                       JANE TRICHE MILAZZO
                                       UNITED STATES DISTRICT JUDGE




                                       8
